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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE


  JOHN G. MONTAGUE and his               *
  wife, GWENDOLYN W. MONTAGUE,           *
                                         *
          PLAINTIFFS,                    *
                                         *
  VS.                                    *        NO. 2:09-cv-2452
                                         *
  PACIFIC INDEMNITY COMPANY              *
  and CHUBB GROUP OF INSURANCE           *
  COMPANIES,                             *
                                         *
          DEFENDANTS.                    *


                CONSENT ORDER OF DISMISSAL WITH PREJUDICE


          It appearing to the Court that the matters and things

  in controversy have been resolved by the parties, and that

  by    consent     of   the   parties,      Plaintiffs’     action    against

  Pacific       Indemnity   Company   and     Chubb    Group   of     Insurance

  Companies       (Improperly    named       by    Plaintiffs)      should     be

  dismissed in its entirety with prejudice;

          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that by

  consent,       Plaintiffs’    action       against    Pacific      Indemnity

  Company and Chubb Group of Insurance Companies (Improperly

  named    by    Plaintiffs)    be,   and    is    hereby,   dismissed       with

  prejudice, each party to bear its own costs.




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                                s/Bernice Bouie Donald
                                U.S. DISTRICT COURT JUDGE


                                Date: October 27, 2009




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